Filed 04/26/16                                                  Case 15-14228                                                  Doc 99

     FORM L157 Memo to File Re: Calendar Correction (v.2.13)                                                15−14228 − B − 13

                 UNITED STATES BANKRUPTCY COURT
                      Eastern District of California
                           Robert E. Coyle United States Courthouse
                                2500 Tulare Street, Suite 2501
                                   Fresno, CA 93721−1318

                                           (559) 499−5800
                                        www.caeb.uscourts.gov
                                        M−F 9:00 AM − 4:00 PM


                                    MEMO TO FILE RE: CALENDAR CORRECTION

     Case Number:          15−14228 − B − 13                                             DCN:      CAA−2

     Case Title:       Oscar Gutierrez


       TO WHOM IT MAY CONCERN:
       An application/motion/objection and Notice of Hearing were submitted for filing with incorrect hearing
       date/time/department/Docket Control Number. This application/motion/objection will be calendared ONLY upon receipt of
       an Amended Notice of Hearing with the correct date/time/department/Docket Control Number filled in.
       Contacted by phone: Valerie
       The following calendar corrections have been made:
             Dept:                                                   Date:
             Time:                                                   DCN #:
       Other:
             Amended notice to reflect correction to time per Judge Lastreto's Chapter 13 self−set calendar.

       The filing party will submit a Notice of Hearing or an Amended Notice of Hearing as necessary.



     Dated:                                                          For the Court,
     4/26/16                                                         Wayne Blackwelder , Clerk
